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   EXHIBIT A
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From:             Jefferies, Tyler
To:               "Nia Holston"
Cc:               Bret Grote
Subject:          RE: [ EXTERNAL ] Re: Hassan Tucker v. John Wetzel, et al - Entry of Appearance
Date:             Thursday, November 7, 2024 2:29:25 PM
Attachments:      Executed Tucker Confidentiality Agreement (1).pdf
                  TUCKER.DEF_000015-000016 ATTORNEY"S EYES ONLY 4-30-2020 Roster 2-10 Shift.pdf
                  TUCKER.DEF_000017-000018 ATTORNEY"S EYES ONLY RRL Vote Sheet.pdf
                  TUCKER.DEF_000001-000008 4.27.20 Medical Records.pdf
                  TUCKER.DEF_000009-000010 ATTORNEY"S EYES ONLY 4-27-2020 Roster 2-10 Shift.pdf
                  TUCKER.DEF_000011-000012 ATTORNEY"S EYES ONLY 4-28-2020 Roster 2-10 Shift.pdf
                  TUCKER.DEF_000013-000014 ATTORNEY"S EYES ONLY 4-29-2020 Roster 2-10 Shift.pdf


Hi Nia,

I apologize for my delay. Attached are the documents per the executed confidentiality
agreement, which has also been attached.

Best,
Tyler Jefferies

Tyler Jefferies (She/Her)
Deputy Attorney General
PA Office of Attorney General: Civil Law Division
15th Floor, Strawberry Square
Harrisburg, PA 17120
o: 717-775-5161
m: 717-941-0376
tjefferies@attorneygeneral.gov

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applicable privilege. PA-OAG


From: Nia Holston <nia@alcenter.org>
Sent: Thursday, November 7, 2024 12:55 PM
To: Jefferies, Tyler <tjefferies@attorneygeneral.gov>
Cc: Bret Grote <bretgrote@alcenter.org>
Subject: Re: [ EXTERNAL ] Re: Hassan Tucker v. John Wetzel, et al - Entry of Appearance

Good afternoon Tyler,

Any update on these documents?

All the best,

Nia
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On Mon, Oct 21, 2024 at 11:09 AM Nia Holston <nia@alcenter.org> wrote:
 Good morning Tyler - my apologies for the delay. Please find the signed agreement
 attached.

  Best,
  Nia Holston

  On Sat, Oct 12, 2024 at 8:02 AM Nia Holston <nia@alcenter.org> wrote:
   Thank you Tyler - I will review and follow up with any questions.

    On Fri, Oct 11, 2024 at 10:00 AM Jefferies, Tyler <tjefferies@attorneygeneral.gov>
    wrote:
      Ms. Holston,

      We have determined that a confidentiality agreement is required before we can produce
      the unredacted relevant documents. Attached to this email is a draft of the
      confidentiality agreement. Please return a sign copy as soon as practicable.

      Best,
      Tyler Jefferies

      Tyler Jefferies (She/Her)
      Deputy Attorney General
      PA Office of Attorney General: Civil Law Division
      15th Floor, Strawberry Square
      Harrisburg, PA 17120
      o: 717-775-5161
      m: 717-941-0376
      tjefferies@attorneygeneral.gov

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      From: Jefferies, Tyler
      Sent: Sunday, October 6, 2024 9:44 AM
      To: 'Nia Holston' <nia@alcenter.org>
      Cc: Bret Grote <bretgrote@alcenter.org>
      Subject: RE: [ EXTERNAL ] Re: Hassan Tucker v. John Wetzel, et al - Entry of Appearance

      Hello,

      I have no objection to the request for extension. As to the exhibits, I will need to
      discuss with my client as some of the documents were redacted for security purposes
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   and deliberative process privilege.

   Best,
   Tyler Jefferies

   Tyler Jefferies (She/Her)
   Deputy Attorney General
   PA Office of Attorney General: Civil Law Division
   15th Floor, Strawberry Square
   Harrisburg, PA 17120
   o: 717-775-5161
   m: 717-941-0376
   tjefferies@attorneygeneral.gov

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   From: Nia Holston <nia@alcenter.org>
   Sent: Thursday, October 3, 2024 2:52 PM
   To: Jefferies, Tyler <tjefferies@attorneygeneral.gov>
   Cc: Bret Grote <bretgrote@alcenter.org>
   Subject: Re: [ EXTERNAL ] Re: Hassan Tucker v. John Wetzel, et al - Entry of Appearance

   Good afternoon,

   I am following up on the previous message.

   Thank you,

   Nia Holston

   On Tue, Oct 1, 2024 at 12:24 PM Nia Holston <nia@alcenter.org> wrote:
    Dear Ms. Jefferies,

     I am following up on Mr. Hassan Tucker's matter, 1:22-cv-00631. As you know, I
     am representing Mr. Tucker in this case. I understand that Judge Conner's order
     requires us to complete mediation within 60 days of his August 12 order. I would
     like to file a motion for extension by 60 days so that I have time to complete my
     record review. Can you let me know if you have any objection to this request?

     Additionally, there are some materials in the summary judgment filings that are
     redacted. Are you able to send the unredacted versions of these documents?

     Thank you,
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    Nia Holston

    On Wed, Sep 4, 2024 at 8:32 AM Jefferies, Tyler <tjefferies@attorneygeneral.gov>
    wrote:
      Good Morning Ms. Holston,

      Thank you for your email. Mr. Barrett’s email is Joe_Barrett@pamd.uscourts.gov.
      I look forward to working with you on this matter.

      Best,
      Tyler Jefferies

      Tyler Jefferies (She/Her)
      Deputy Attorney General
      PA Office of Attorney General: Civil Law Division
      15th Floor, Strawberry Square
      Harrisburg, PA 17120
      o: 717-775-5161
      m: 717-941-0376
      tjefferies@attorneygeneral.gov

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      from any and all computers. Unintended transmissions shall not constitute waiver
      of any applicable attorney-client or any other applicable privilege. PA-OAG

      From: Nia Holston <nia@alcenter.org>
      Sent: Tuesday, September 3, 2024 11:55 AM
      To: Jefferies, Tyler <tjefferies@attorneygeneral.gov>
      Cc: Bret Grote <bretgrote@alcenter.org>
      Subject: [ EXTERNAL ] Re: Hassan Tucker v. John Wetzel, et al - Entry of Appearance


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         links or open attachments unless you recognize the sender and know the
         content is safe.


         Pennsylvania Office of Attorney General
      Additionally - do you have an email address for the assigned mediator Joseph
      Barrett? Thank you very much.

      On Tue, Sep 3, 2024 at 11:42 AM Nia Holston <nia@alcenter.org> wrote:
       Good morning Mr. Jefferies,

        I hope this message finds you well. I am writing to inform you that I will be
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        entering my appearance in Tucker v. Wetzel, No. 1:22-cv-631 shortly. I will
        also reach out to the mediator to request a delay in the mediation process. Please
        feel free to reach out to me via email or phone (267-357-0948) with any
        questions or concerns.

        Thank you very much,

        Nia

        --
        Nia Holston
        Staff Attorney
        Abolitionist Law Center
        nia@alcenter.org



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